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                     8
                     9                                UNITED STATES DISTRICT COURT

                     10                                     DISTRICT OF NEVADA

                     11   Eugene Scalia,
                          Secretary of Labor,                                 Case No.: 2:20-cv-00510-KJD-BNW
                     12   United States Department of Labor,
                                                                              DEFENDANTS’ OPPOSITION TO
                     13                 Plaintiff,                            PLAINTIFF’S APPLICATIONS FOR
                                                                              TEMPORARY RESTRAINING ORDER
                     14          vs.                                          AND ORDER TO SHOW CAUSE RE
                                                                              PRELIMINARY INJUNCTION
                     15   Unforgettable Coatings, Inc., a Nevada
                          Corporation; Unforgettable Coatings of Idaho,
                     16   LLC, dba Unforgettable Coatings, a Nevada
                          Limited Liability Company; Unforgettable
                     17   Coatings of Arizona, LLC, dba Unforgettable
                          Coatings, an Arizona Limited Liability
                     18   Company; Unforgettable Coatings of Utah,
                          Inc., dba Unforgettable Coatings, a Utah
                     19   Corporation; Shaun McMurray, an individual;
                          Shane Sandall, an individual; Cory
                     20   Summerhayes, an individual
                     21                 Defendants.
                     22
                     23          Defendants Unforgettable Coatings, Inc., Unforgettable Coatings of Idaho, LLC, dba

                     24   Unforgettable Coatings, Unforgettable Coatings of Arizona, LLC, dba Unforgettable Coatings,

                     25   Unforgettable Coatings of Utah, Inc., dba Unforgettable Coatings, Shaun McMurray, Shane

                     26   Sandall, and Cory Summerhayes [sic] (collectively “Defendants,” or “UCI”), by and through its

                     27   counsel, hereby oppose Plaintiff’s Applications for Temporary Restraining Order and Order to

                     28   Show Cause Why a Preliminary Injunction Should Not Issue (ECF Nos. 4, 5).

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                     1           Plaintiff’s Applications, which are duplicate filings, are premised on false allegations and

                     2    a manufactured theory of retaliatory conduct advanced in blind ignorance of the current economic

                     3    crisis. The “evidence” presented in the Applications consists of hearsay, double hearsay, an

                     4    unsigned declaration, an inaccurate and uncertified translation, and a selective extract of payroll

                     5    records. These are misleading and fail to satisfy Plaintiff’s burden in order to obtain the

                     6    extraordinary remedy of injunctive relief at this stage of the proceedings.             Indeed, the

                     7    Applications were filed mere days after counsel for Defendants accepted service of the Complaint

                     8    and are supported by a misleading characterization of the notice provided to Defendants.

                     9    Furthermore, Plaintiff’s requested relief is extremely overbroad, premature, and unwarranted in

                     10   light of the circumstances, yet also lacks the appropriate level of specificity in key areas as it

                     11   purports to include all employees of Defendants, and does not differentiate between any of the 4

                     12   named corporate defendants or any of the 3 named individual defendants. Finally, there is no

                     13   justification for Plaintiff’s request for an award of fees and costs. To the contrary, Defendants

                     14   should be awarded their fees and costs for responding to Plaintiff’s manufactured Applications.

                     15   Therefore, Defendants request that this Court deny Plaintiff’s Applications in their entirety.

                     16          This Opposition is made and based upon the accompanying Memorandum of Points and

                     17   Authorities, the exhibits attached hereto, all pleadings and papers on file herein, as well as any

                     18   oral argument that this Court may entertain.

                     19          Dated this 17th day of April, 2020

                     20                                                  JACKSON LEWIS P.C.

                     21                                                  /s/ Paul T. Trimmer
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                     22                                                  Lynne K. McChrystal, State Bar No. 14739
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                     1                         MEMORANDUM OF POINTS AND AUTHORITIES

                     2           I.      INTRODUCTION

                     3           Temporary restraining orders are appropriate only in extraordinary circumstances. The

                     4    Plaintiffs’ application for a temporary restraining order and preliminary injunction in this case is

                     5    based on (as set forth below, completely false) allegations of recent misconduct – the alleged

                     6    termination of unspecified and unidentified individuals – combined with additional allegations

                     7    about witness intimidation based on a memo which was sent in October 2019. The support for

                     8    these allegations consists of three declarations, scotch taped together and imbued with meaning

                     9    by opposing counsel’s overheated speculation and characterizations.

                     10          Neither the declarations nor opposing counsel’s theorizing holds up when confronted by

                     11   the facts, however.     All of the material allegations in those documents are unattributed,

                     12   uncorroborated hearsay or double hearsay, and while such otherwise inadmissible evidence can be

                     13   considered when a TRO application is filed, they cannot be “conclusory and without sufficient

                     14   support in facts.” American Passage Media Corp. v. Cass Comm., 750 F.2d 1470, 1473 (9th Cir.

                     15   1985). The problems with Plaintiff’s declarations cannot be cured.

                     16          •    Cristian Cespedes’ Declaration is not signed. Docket No. 4-4. His employment with

                     17               the Company ceased in September 2019, months before any of the alleged events

                     18               relevant to the TRO application supposedly took place. Id. at ¶ 2. His statements and

                     19               characterizations of the contents of the September 2019 letter are inconsistent with the

                     20               actual text of the document, barred by the best evidence rule, and based on

                     21               unattributed hearsay. Id. at ¶ 6. His statements about paystubs and workers’ alleged

                     22               fear are hearsay, not specific, and unattributed.

                     23          •    The declaration of Daryl Davis-Ferra suffers from the same problems. His statements

                     24               about the September 2019 letter are inconsistent with the text, barred by the best

                     25               evidence rule, filled with speculation, and contain legal conclusions (i.e., that advising

                     26               employees that participation in interviews is voluntary “deter[s]” workers). Docket

                     27               No. 4-6 at ¶ 7.        Similarly, his assertion that the letter constitutes “witness

                     28               intimidation,” id. at ¶ 10, is not evidence. It is speculation and characterization, and

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                     1               his supposed “translation” of the letter is materially inaccurate. His statement about

                     2               paycuts and terminations, .id. at ¶ 24, is rank, unattributed hearsay, and there is no

                     3               reason for the lack of attribution given that he does not say it is based on the statement

                     4               of an allegedly confidential informant.

                     5           •   The declaration of John Lama, Docket No. 4-9, is also nothing more than hearsay

                     6               when it comes to the testimony relevant to the TRO. Each paragraph is based on

                     7               unattributed statements of “workers,” without information about the date the

                     8               conversations allegedly occurred, without corroboration from redacted notes, without

                     9               support from redacted communications. His testimony about the alleged terminations,

                     10              id. at ¶ 13, is based on double hearsay from workers claiming that other workers had

                     11              been discharged.

                     12          Based on the foregoing evidence, Plaintiff asked the Court for extraordinary relief. It

                     13   asked the Court to preclude the Company from discharging or otherwise laying off any worker at

                     14   the Company unless it first contacts the employee and the DOL and provides a reason. Docket 4-

                     15   10 at ¶ 2. It asks for premature discovery related to the merits of Plaintiff’s FLSA claims,

                     16   discovery which has nothing to do with the issues supposedly warranting a TRO. Id. at ¶¶ 3, 5.

                     17   And it asked for an order enjoining Defendant from doing things that Defendant has not done and

                     18   which Plaintiff has not come close to proving, including witness tampering, and suborning false

                     19   testimony. In short, the Plaintiff’s application contains no evidence. It certainly has not shown

                     20   that it is likely to prove, by a preponderance of the evidence, that it would succeed at trial in

                     21   proving that the Defendant has engaged in retaliation and other acts prohibited by the FLSA.

                     22          Simply put, the facts set forth in the DOL’s application are materially and inexcusably

                     23   false. No employees have been terminated. See Exhibit A, Declaration of Cory Summerhays

                     24   (“Summerhays Decl.”). All of the employees – including any employee to whom the DOL could

                     25   have conceivably referred – remained on payroll through April 3, 2020, receiving pay as if they

                     26   had worked full 40 hour weeks. Those same employees are still on payroll, and received full

                     27   paychecks after the TRO was issued, even though the Company was shut down for COVID-19

                     28   cleaning. And, throughout this period, the Company has continued to pay for all employees’

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                     1    health benefits, with no cost to the employees. To the extent employees may have been confused

                     2    about whether they remained employed after they placed themselves in jeopardy by walking off

                     3    the job on March 18, 2020, that confusion was cleared up no later than March 24, 2020 – more

                     4    than a week before the DOL filed its TRO application. See Ex. A, Summerhays Decl.

                     5            The Applications allege intermittent conduct of Defendants dating back to 2013, yet the

                     6    entire basis for injunctive relief boils down to one bald accusation: that, in March of 2020,

                     7    Defendants informed employees of a pay reduction due to the pandemic and terminated

                     8    employees who complained. ECF No. 4 at 2:20-22. Plaintiff goes so far as to accuse Defendants

                     9    of “using the pandemic…as a cover” for retaliation, ECF No. 4 at 1:7-8, despite Plaintiff’s

                     10   complete ignorance of Defendants’ financial state and business operations. Plaintiff’s overly

                     11   simplistic explanation for why Defendants’ legitimate business decisions must be “cover” for

                     12   retaliation is this the Governor has deemed construction to be an essential business, therefore

                     13   Defendants’ operations must be proceeding as if nothing had changed. Plaintiff’s assumption that

                     14   Defendants’ operations are proceeding as usual in the midst of the worst economic downturn

                     15   since the Great Recession is astonishing and unsupported by a single piece of actual evidence.

                     16           Had Plaintiff not filed its application prematurely and without reasonable notice to

                     17   Defendants, Defendants could have explained that its volume of business was already at its lowest

                     18   point in ten years prior to the COVID-19 outbreak and prior to the filing of the Complaint. When

                     19   the COVID-19 crisis deepened, several of Defendants’ customers either cancelled work entirely

                     20   or requested Defendants to delay performance. Further, Defendants could have explained that it

                     21   did not in fact terminate any employee after March 18, 2020, but that some employees have been

                     22   unable to work (but remain on payroll with full health benefits) because there is simply no work

                     23   for them to do. Defendants now present both of these points to the Court, with the proper factual

                     24   support that Plaintiff’s allegations lack.

                     25           There is no merit to Plaintiff’s allegations, Defendants respectfully request that this Court

                     26   deny Plaintiff’s Applications in their entirety.

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                     1            II.    STATEMENT OF FACTS

                     2            UCI is a commercial and residential painting contractor with approximately 90-100 full-

                     3    time employees in Nevada. Ex. A, Summerhays Decl., ¶ 3. For the past several years, it has been

                     4    able to consistently provide a full 40 hours of work to its employees and schedule jobs 4 to 6

                     5    weeks out. Id. In December 2019 and January of 2020, UCI began to have difficulty filling its

                     6    schedule 4 to 6 weeks out. Id. at ¶ 4; Exhibit B, Declaration of Justin Swenson (“Swenson

                     7    Decl.”), ¶ 4. In fact, Justin Swenson (“Mr. Swenson”), the General Manager for Production, had

                     8    never seen UCI’s schedule so scarce in his 10 years’ experience working for the company. Id. at

                     9    ¶ 6. Mr. Swenson, who bears primary responsibility for monitoring workflow and labor needs for

                     10   UCI, began to worry and press the sales staff to generate more work. Id. at ¶¶ 3, 5. Mr. Swenson

                     11   sent text messages in December 2019, January 2020, and February 2020 wherein he expressed his

                     12   concerns, such as “I have zero work for guys. Every job is doubled up” and “we are running out

                     13   of work again.” Id. at ¶ 5. Despite the increased pressure Mr. Swenson placed on the sales team,

                     14   the best they could manage in the first quarter of 2020 was to schedule employees 1 to 2 weeks in

                     15   advance (although a few employees on larger projects had steady work scheduled for 4 weeks).

                     16   Id. at ¶ 6.

                     17           Mr. Summerhays also noticed the scarcity of work. He felt that the he schedule for March

                     18   2020 was the least full it had been in the company’s history. Ex. A, Summerhays Decl., ¶ 4. He

                     19   discussed these issues with UCI’s Vice President of Sales, Mike Lawruk (“Mr. Lawruk”) in early

                     20   March 2020. Mr. Summerhays and Mr. Lawruk discussed the “gaps” they saw in the schedule

                     21   and attempted to utilize days off to stall and hope that more jobs would be forthcoming. Id. They

                     22   further discussed the major concerns they had about the company’s projections for the next 6

                     23   months to 1 year even prior to the Governor of Nevada’s announcement. Id.

                     24           The slowing of UCI’s volume of worsened when business began to close due to COVID-

                     25   19. Ex. B, Swenson Decl., ¶ 7. The schedule for March 2020 was the least full it had been in the

                     26   company’s history. Id. at ¶¶ 6, 8. Although the Governor of Nevada (and the governors in other

                     27   states where Unforgettable operates) deemed construction an essential business when announcing

                     28   statewide closures, COVID-19 impacted customer demand and budgets. Ex. A, Summerhays

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                     1    Decl., ¶ 6; Ex. B, Swenson Decl., ¶ 7. For instance, on March 18, 2020 a customer at Stone Ridge

                     2    HOA requested that UCI delay performance of a job. Id. She explained “[i]n light of the news

                     3    announcement last night and controlling spread of COVID-19, please reschedule painting at Stone

                     4    Ridge. There are many seniors within the community. Painting wrought iron railings is not

                     5    worth risking their lives. It can be delayed.” Id. On March 26, 2020, Mr. Swenson texted Sales

                     6    Account Executive Clayton Peterson (“Mr. Peterson”) and told him “I’m gonna have guys out of

                     7    work Monday.” Id. Customer demand weakened further as the crisis deepened, and even larger

                     8    projects were impacted. Ex. A, Summerhays Decl., ¶ 19. For instance, on March 26, 2020, UCI

                     9    received a letter from Nigro Construction, Inc., stating that the Mountain West Industrial project

                     10   was on hold. Id. (Ex. 5). This project is for a large industrial park in Las Vegas and would have

                     11   provided a significant amount of work for UCI. Id. As recently as April 9, 2020, ColRich

                     12   canceled a $525,000 contract to paint the Emerson Apartments in Herriman, Utah. Id. (Ex. 6).

                     13          After reviewing the financial projections for the company into the remainder of 2020, Mr.

                     14   Summerhays reluctantly decided that a company-wide reduction in discretionary bonus pay would

                     15   potentially be necessary to maintain the company’s financial health, align with estimates of future

                     16   profits, and ensure the continued employment of its employees. Id. at ¶ 7. On March 18, 2020,

                     17   Mr. Summerhays held a meeting with the company’s foremen. Id. at ¶ 8; Exhibit C, Declaration

                     18   of Angel Perez (“Perez Decl.”), ¶ 4; Exhibit D, Declaration of Archi Esteban Romero (“Romero

                     19   Decl.”), ¶ 5). He explained that work had slowed over the past several weeks, and that with the

                     20   state’s order requiring non-essential businesses to shut down, the company may have even less

                     21   work. Id. He said that he wanted to keep all employees working, even if that meant that everyone

                     22   would have to make a little bit less. Id. He said that UCI may have to reduce discretionary bonus

                     23   pay by up to 30%, but that he would not know the exact amount. Id. He explained that either

                     24   everyone had to take a little bit less or the company could run out of money, but that all

                     25   employees would continue to receive 100% of their health insurance coverage during this period.

                     26   Id. Mr. Summerhays asked the foreman to raise their hands if they understood and agreed with

                     27   this. Ex. A, Summerhays Decl., ¶ 8. All foreman present raised their hands. Id. Mr. Summerhays

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                     1    then instructed the foreman to disseminate the information to their teams of workers. Ex. A,

                     2    Summerhays Decl., ¶ 8; Ex. C, Perez Decl., ¶ 5, Ex. D, Romero Decl., ¶ 5.

                     3           A small group of workers reacted to the news with threats and ridicule when their

                     4    foreman, Angel Perez (“Mr. Perez”), announced the potential reduction in discretionary bonus

                     5    pay during an on-site meeting with his team1 at the Acacias HOA in Henderson, Nevada. Ex. C,

                     6    Perez Decl., ¶ 5, Exhibit E, Declaration of Iris Jasmin Martinez (“Martinez Decl.”), ¶ 5. One

                     7    worker told Mr. Perez that he would “kick his ass.” Ex. C, Perez Decl., ¶ 5. This group grew

                     8    angry with Mr. Perez, told him they did not believe that everyone, including Mr. Perez, would be

                     9    required to take the reduction, and demanded to talk to Summerhays. Id. at ¶¶ 5-6, Ex. E,

                     10   Martinez Decl., ¶ 4. Mr. Perez called Mr. Summerhays and put him on speakerphone so the

                     11   group of workers could talk to him. Id. Mr. Perez told Mr. Summerhays that people on his team

                     12   did not believe him when he announced the potential reduction in discretionary bonus pay, and

                     13   that they wanted to hear the news directly from Mr. Summerhays. Ex. A, Summerhays Decl., ¶ 9,

                     14   Ex. C, Perez Decl., ¶ 6. Mr. Summerhays told the group of workers that Mr. Perez was correct.

                     15   Ex. A, Summerhays Decl., ¶ 9, Ex. C, Perez Decl., ¶ 6; Ex. E, Martinez Decl., ¶ 5. He explained

                     16   that the situation was serious, and the step was necessary to ensure that every employee was taken

                     17   care of. Id.   The group of workers replied to Mr. Summerhays that he could come and “clean

                     18   [his] own building” (i.e. finish the project at the Acacias himself). Ex. E, Martinez Decl., ¶ 5.

                     19   They laughed and hung up. Id. One employee told Mr. Perez that he would go to the labor

                     20   commissioner and Mr. Perez responded that it was okay if he wanted to go. Ex. C, Perez Decl., ¶

                     21   7. Several employees then left the jobsite. Ex. C, Perez Decl., ¶ 8; Ex. E, Martinez Decl., ¶ 6.

                     22   They did not ask for Mr. Perez’s permission to leave. Ex. C, Perez Decl., ¶ 8. They appeared

                     23   angry and did not say that they intended to return to work. Id.

                     24          At no point during the discussion with Mr. Perez, or with Mr. Summerhays on the

                     25   speakerphone, did any of the employees express fear to work due to COVID-19 or request to stay

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                     27    At the time Rafael Castillo Dubon, Jose Adolfo Ganez Dubon, Abraham Gonzales Mendoza, Denis
                          Guardado, Iris Jasmin Martinez, Melvin Antonio Martinez Ramos, Oscar Abel Serrano Alfaro, and Oscar
                     28   Zuniga were members of Mr. Perez’s team. Ex. A, Summerhays Decl., ¶ 13, Ex. C, Perez Decl., ¶ 5; Ex.
                          E, Martinez Decl., ¶ 3.
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                     1    home during the duration of the outbreak.2 Ex. A, Summerhays Decl., ¶ 9, Ex. C, Perez Decl., ¶

                     2    8; Ex. E, Martinez Decl., ¶ 7. Some employees did not report to work the next day even though

                     3    they were scheduled to do so. Ex. A, Summerhays Decl., ¶ 9.

                     4            On March 22, 2020, a few days after the announcement regarding the potential reductions

                     5    in discretionary bonus pay, UCI had received additional cancelations from customers, still did not

                     6    have a full schedule of work for all employees, and had some employees walk off the jobsite. Id.

                     7    at ¶ 10. Mr. Summerhays therefore directed Galia Carrejo (“Ms. Carrejo”) to message a number

                     8    of workers throughout the Company, including several in Mr. Perez’s group, informing them that

                     9    no work was available at that time, and that the Company would therefore assist them with

                     10   severance while they were out of work. Id.; Exhibit F, Declaration of Galia Carrejo (“Carrejo

                     11   Decl.”), ¶ 12. Those individuals who walked off Mr. Perez’s jobsite and did not return were

                     12   among those advised of the lack of work, as was Edgar Ortiz, who was not part of Mr. Perez’s

                     13   group. Ex. A, Summerhays Decl., ¶ 10; Ex. F, Carrejo Decl., ¶ 12.

                     14           However, it came to Mr. Summerhays’ attention that this message confused some workers

                     15   because they believed that the message was a permanent termination from the Company. Ex. A,

                     16   Summerhays Decl., ¶ 11. The allegation that UCI terminated these employees is false. Id. at ¶

                     17   12. None of those workers were terminated. Id. at ¶ 12; Ex. F, Carrejo Decl., ¶ 14. Although Mr.

                     18   Summerhays had considered taking action against the workers who directed outbursts to Mr.

                     19   Perez, he ultimately chose not to do so because COVID-19 has had such a dramatic effect on

                     20   people and he believed many of the employees simply could have been caught up in the moment.

                     21   Ex. A, Summerhays Decl., ¶ 12. Mr. Summerhays instructed Ms. Carejo to send follow up

                     22   messages to let these employees know that he (Mr. Summerhays) would contact them later that

                     23   day. Ex. F, Carrejo Decl., ¶ 13. Mr. Summerhays therefore contacted workers personally to clear

                     24   up any misunderstandings. Ex. A, Summerhays Decl., ¶ 13. Beginning on March 24, 2020, he

                     25   called each worker individually – Rafael Castillo Dubon, Abraham Gonzales Mendoza, Dennis

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                            The version of this meeting as recounted by investigator John Lama (“Mr. Lama”) in Plaintiffs’
                     28   Applications is inaccurate and misleading. See ECF No. 4-9, ¶¶ 13-14. It is based on hearsay and directly
                          contradicted by statements attached to this Response.
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                     1     Valdez, Jose Ismael Zuniga, Melvin Antonio Martinez Ramos, Ramon Salgado, Oscar Abel

                     2     Serrano Alfaro, Angel Diaz, Oscar Zuniga, and Edgar Ortiz, to explain that they were not

                     3     terminated, would be scheduled for work as soon as work was available, and would continue to

                     4     receive 100% of their health insurance and dental premiums. Id. Mr. Summerhays was unable to

                     5     speak to one employee, Oscar Abel Serrano Alfaro, but it was not for lack of trying. Id. at ¶ 14.

                     6     Mr. Alfaro would not return his call. Id.

                     7             Since that time, Mr. Summerhays has continued to check up on employees and

                     8     communicate with them regarding the availability of work and their continued employment with

                     9     UCI. Id. at ¶ 15. For instance, Mr. Summerhays had text conversations with Dennis Valdez,

                     10    Abraham Gonzales Mendoza, and Melvin Antonio Martinez Ramos. Id. at ¶ 16 (Ex. 3). Mr.

                     11    Summerhays and these employees discussed UCI’s continued provision of health benefits to each

                     12    employee (at no cost to the employee) and the availability of work. Id. These text message

                     13    exchanges occurred well before the Department of Labor filed its application for TRO. Id. In

                     14    fact, on April 4, 2020, Mr. Mendoza expressed his gratitude for maintaining his pay although he

                     15    had not worked a full schedule and stated “now I can pay my bills thanks again….” Id. On April

                     16    5, 2020, Mr. Summerhays replied with a text to Mr. Mendoza explaining that UCI has had

                     17    employees without work for awhile, and that “[e]ach individual is being considered for work,

                     18    trying to spread that out as much as possible considering the lack of work.” Id. UCI has since

                     19    arranged for Mr. Mendoza to start a project in Utah beginning the week of April 20, 2020. Id.

                     20            Further, all of the individuals who were on Mr. Perez’s team on March 18, 2020, were

                     21    paid for forty (40) hours per week in the payroll cycle that ended on March 27, 2020, even though

                     22    some of them did not work at all. Id. at ¶ 17 (Ex. 4). UCI processed payroll on April 17, 2020,

                     23    for all of its employees, including those employees who are not currently scheduled to work. Id.at

                     24    ¶ 18.

                     25            UCI’s operations continue to be hampered by the COVID-19 crisis. Id. at ¶ 19. The

                     26    company recently closed its job sites and hired a third party to perform COVID-19 specific

                     27    cleaning for worker safety. Id. at ¶ 20 All employees we paid during this period of time. Id. It

                     28    has equipped its foremen with infrared thermometers to monitor employee health. Id. Any

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                     1     workers who exhibit symptoms of COVID-19 are required to go home with full sick pay. Id.

                     2     Nonetheless, UCI’s precautions cannot bolster flagging customer demand or create work where

                     3     there is none. Id. at ¶ 21. Some employees still have not been scheduled for work simply because

                     4     no work is available. Id. But, as noted above, UCI is continuing to pay those individuals and is

                     5     continuing their health benefits. Id.

                     6            Clearly, UCI’s announcement of a potential reduction in discretionary bonus pay was

                     7     based on a legitimate business purpose. There is no evidence that any of its actions were linked to

                     8     the filing of the instant Complaint. There is no evidence that it terminated any employees for

                     9     complaining about the potential reduction, because it did not terminate any employees even

                     10    though a group treated their foreman discourteously and walked off the job. The remainder of the

                     11    allegations in the Applications attempt to fabricate “irreparable harm” in the form of intimidation

                     12    based on statements allegedly made by Mr. Summerhays in various meetings. Notably, the only

                     13    “evidence” offered by Plaintiff to prove Mr. Summerhays made the various inflammatory

                     14    statements they accuse him of are declarations from two investigators and one former employee,

                     15    none of whom attended any of these meetings. Further, the Declaration of Cristian Cespedes

                     16    (“Mr. Cespedes”), is not even signed and the Declaration of Daryl Davis-Ferra (“Mr. Davis-

                     17    Ferra”) contains an improper signature pursuant to LR IC 5-1. See ECF No. 4-4, p. 3; 4-6, p.8.

                     18    Both declarations should be stricken pursuant to LR IC 7-1.

                     19           The only documentary evidence presented by Plaintiff is a letter sent in September of

                     20    2019, more than 6 months ago. Indeed, while UCI did issue a memo to employees at the end of

                     21    September 2019, it did so because several employees were confused as to why the Department of

                     22    Labor had visited worksites. Ex. A. Summerhays, Decl., ¶ 24. They were, among other things,

                     23    concerned that the Department of Labor was investigating immigration status. Id. The letter

                     24    referenced in Mr. Davis-Ferra’s Declaration is in Spanish and is accompanied by an unverified,

                     25    uncertified translation. Mr. Davis-Ferra’s Declaration relies heavily on this inaccurate translation

                     26    to claim, as fact, that the letter “attempted to deter workers from speaking with [investigators].”

                     27    This misleading allegation is belied by an accurate translation of the September 2019 letter.

                     28    Exhibit G, Declaration of Soledad Garcia (“Garcia Decl.”), Exhibit 1. In fact, contrary to the

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                     1     Department of Labor’s assertion, the memo does not say that employees must “coordinate with

                     2     their foremen.” Id.; Exhibit H, Comparison Chart of Translations.3 The memo does not imply

                     3     that speaking with the DOL will lead to “immigration problems.” Id. To the contrary, UCI

                     4     specifically advised employees that the DOL investigators were not interested in immigration

                     5     status to dispel concerns employees had brought to our attention after the DOL’s initial visits. Id.

                     6              To the extent that the hearsay and double hearsay presented by the Plaintiff as “evidence”

                     7     of intimidatory conduct requires rebuttal, a summary of the false allegations contained in the

                     8     Applications and declarations in support follows:

                     9              •      Mr. Cespedes claims he was a project manager in 2018 and began hiring workers

                     10    with specific instructions from Mr. Summerhays on pay and overtime. ECF No. 4-4, ¶ 4. This is

                     11    false.   Cespedes was never responsible for negotiating rates or hiring employees. Ex. A,

                     12    Summerhays Decl., ¶ 30.          These functions were performed by Human Resources and Mr.

                     13    Summerhays. Id. In addition, Mr. Cespedes has no firsthand knowledge of UCI’s current

                     14    operations, as he has not been employed by UCI since September of 2019. Id.

                     15             •      Mr. Lama alleges workers told him that Mr. Summerhays visited a job site in

                     16    September 2019 and told workers they should not speak to investigators. ECF No. 4-9, ¶ 8. Mr.

                     17    Lama also, based on this hearsay, makes the inflammatory allegation4 that Mr. Summerhays told

                     18    employees that the investigators could “send information to immigration enforcement.” This

                     19    hearsay is inherently unreliable and false. Mr. Summerhays has neither instructed workers not to

                     20    talk to investigators or stated that the investigators would send employee information to

                     21    immigration enforcement. Ex. A, Summerhays Decl., ¶ 26; Ex. C, Perez Decl., ¶¶ 9-10; Ex. D,

                     22    Romero Decl., ¶ 9.

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                     24
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                           3
                             The emphasis included in this chart is that of counsel.
                     26    4
                             These type of inflammatory allegations are relied upon by the Plaintiff through the Applications. They
                     27    are advanced with little regard for the truth and no evidentiary support. Mr. Summerhays denies making
                           any such statements. This is corroborated by the other witnesses whose statements Unforgettable was able
                     28    to secure on short notice, prior to its full investigation of the allegations in the Complaint or submission of
                           a responsive pleading.
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                     1            •       Mr. Lama alleges that “one worker” told him that Mr. Summerhays discussed the

                     2     investigation at a December 2019 meeting and stated “he knew that some workers were leaking

                     3     information.” ECF No. 4-9, ¶ 9. This hearsay statement is false. Ex. A, Summerhays Decl., ¶ 27.

                     4            •       Mr. Lama alleges workers were required to surrender their cell phones at a January

                     5     10, 2020 meeting “so workers were not able to record the meeting.” ECF No. 4-9, ¶ 10. Mr.

                     6     Lama alleges Mr. Summerhays again instructed workers not to give company information to

                     7     investigators and to report their pay rates as $9 per hour if asked. Id. These hearsay statements

                     8     are false and misleading. Mr. Summerhays had all employees turn in their cell phones prior to the

                     9     meeting to ensure that each employee gave his or her full attention to the annual meeting. Ex. A,

                     10    Summerhays Decl., ¶ 28; Ex. D, Romero Decl., ¶ 4. He was inspired to try this to increase

                     11    engagement after observing performers use this technique to increase audience engagement at

                     12    concerts. Ex. A, Summerhays Decl., ¶ 28. The meeting was focused on the future performance

                     13    and direction of the company; at no time did Mr. Summerhays discuss the investigation or instruct

                     14    employees on how to respond to inquiries from investigators. Id.

                     15           •       Mr. Cespedes and Mr. Davis-Ferra claim that payroll password were changed on

                     16    January 28, 2020. Mr. Cespedes and Mr. Davis-Ferra insinuate that the company purposefully

                     17    “locked out” employees “so no one can see their paystubs without asking permission first.” ECF

                     18    Nos. 4-4, ¶ 7; 4-6, ¶ 23. This is false. Ex. A, Summerhays Decl., ¶ 29. UCI uses an ADP payroll

                     19    platform and cannot “lock out” individual employee access. UCI performed a system-wide reset

                     20    in January 2020 due to a security breach. Id. UCI advised all employees to reset their passwords

                     21    and disseminated this information through slack and its foremen. Id. Employees can reset their

                     22    passwords by calling ADP or using a link on their sign-in screens. Id.

                     23           •       Mr. Lama alleges that, during a March 6, 2020 meeting, Mr. Summerhays again

                     24    instructed workers how to respond to pay inquiries and “made it understood” that workers could

                     25    not provide pay records to anyone and could be deported for participating in the investigation.

                     26    ECF No. 4-9, ¶ 12. These inflammatory, vague allegations are false. Ex. A, Summerhays Decl., ¶

                     27    23. Mr. Summerhays did not discuss the investigation at the March 6, 2020 meeting, nor did he

                     28    reference or intimate that participation could result in problems with immigration. Id. Ms.

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                     1     Carrejo’s Declaration corroborates Mr. Summerhays’ denial. Ex. F, Carrejo Decl., ¶¶ 7-10. Had

                     2     Mr. Summerhays made any statements regarding immigration or deportation, Ms. Crarejo

                     3     certainly would have noticed and taken offense because she is of Mexican origin. Id.

                     4            •       Mr. Davis-Ferra and Mr. Lama claim informants told him they were “threatened

                     5     with a 30% pay cut and that anyone who disagreed was fired and could not come back.” ECF No.

                     6     4-6, ¶ 24; 4-9 ¶ 13. As discussed extensively above, this is false.

                     7            •       Mr. Davis-Ferra claims that one employee who spoke to him in October 2019 no

                     8     longer wished to speak to one of the other investigators. ECF No. 4-6, ¶25. Mr. Davis-Ferra

                     9     purports to infer, from this double hearsay (an unidentified person’s refusal to talk to an

                     10    unidentified other person), “what we heard about Mr. Summerhays intimidating witnesses…is

                     11    true.” Id. Inferences based on double hearsay are not evidence.

                     12           When viewed it its totality, Plaintiff’s Application is devoid of any evidence of irreparable

                     13    harm, and is entirely dependent on inference, hearsay, double hearsay, unsigned declarations, and

                     14    a misleading documentary translation. Therefore, because there is no basis to grant the extremely

                     15    broad and extraordinary relief requested by Plaintiff, Defendants request that this Court deny

                     16    Plaintiff’s Applications.

                     17           III.    LEGAL ARGUMENT

                     18                   A.   Legal Standard for Injunctive Relief

                     19           The Court should deny Plaintiff’s preliminary injunction motion because it fails to meet

                     20    the heavy burden required of such motions. “A preliminary injunction is an extraordinary remedy

                     21    never awarded as of right.” Winter v. Natural Res. Council, Inc., 555 U.S. 7, 24, 129 S. Ct. 365

                     22    (2008) (emphasis added). Therefore, to qualify, “the movant's right to relief must be clear and

                     23    unequivocal.” Fundamentalist Church of Jesus Christ of Latter-Day Saints v. Horne, 698 F.3d

                     24    1295, 1301 (10th Cir. 2012) (emphasis added). A court may grant a preliminary injunction only if

                     25    the movant establishes: (1) it will suffer irreparable harm; (2) that there is a substantial likelihood

                     26    that it will succeed on the merits; (3) that an injunction, if issued, would not be adverse to public

                     27    policy; and (4) that the threatened injury outweighs the damage the proposed injunction may

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                     1     cause the opposing party. Fernandez v. State of Nevada, 2011 U.S. Dist. LEXIS 6103 at *2-3 (D.

                     2     Nev Jan. 15, 2011 (citing Fed. R. Civ. P. 65; Winter, 55 U.S. 7).

                     3            Further, although a court may consider hearsay evidence when determining whether to

                     4     issue injunctive relief, hearsay evidence alone is insufficient to satisfy Plaintiff’s burden to obtain

                     5     the extraordinary remedy sought here. The legal authority cited by Plaintiff in support of its

                     6     contention that this Court should rely on the hearsay and double hearsay presented in Plaintiff’s

                     7     Applications is misplaced and easily distinguishable. For example, Johnson v. Couturier, 572

                     8     F.3d 1067 (9th Cir. 2009) is distinguishable from the instant matter because Johnson involved

                     9     allegations of a breach of fiduciary duty related to the alleged diversion of $35 million in

                     10    corporate assets—an issue wholly inapplicable in this situation. Id. Further, the Johnson court

                     11    considered some hearsay in conjunction with “the many exhibits, affidavits, declarations and

                     12    factual allegations which have been submitted…by all parties...throughout the course of this

                     13    litigation.” Id. (emphasis added). The court’s decision in Flynt Distributing Co. v. Harvey, 734

                     14    F.2d 1389 (9th Cir. 1984) was based upon the urgency presented by allegations that the

                     15    defendants were transferring valuable corporate assets.       In Republic of Philippines v. Marcos,

                     16    862 F.2d 1355 (9th Cir. 1988) (cited by Johnson, 572 F.3d at 1083, as authority for consideration

                     17    of hearsay), the court was again faced with the urgency of the dissipation of corporate assets and

                     18    noted “[n]o affidavits countering the inference were presented by [defendants].” Id. at 1363.
                                  Here, the bare hearsay and double hearsay relied upon by Plaintiff is supported by a
                     19
                     20    solitary document from September 2019 which is in Spanish and accompanied by an uncertified,
                           inaccurate translation. This “evidence” is inherently unreliable and insufficient. It is contracted
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                           by the declarations presented by Defendants. Plaintiff cannot meet any of the necessary elements
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                           to warrant the issuance of a temporary restraining order or preliminary injunction. Plaintiff has
                     23
                           also failed to provide any support, legal or factual, for their request that the Court prohibit
                     24
                           Unforgettable from terminating employees or reducing wages in the midst of the worst economic
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                           downturn since the Great Recession, to require that Defendants produce documents prior to the
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                           commencement of discovery or the filing of a responsive pleading, to require that Defendants
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                     1     allow employees to access to invade each other’s privacy rights,5 or its request for an award of

                     2     fees and costs. As a result, Plaintiff’s Applications should be denied.

                     3                              1. Plaintiff is Unlikely to Succeed on the Merits of its Retaliation
                                                       Claim.
                     4
                                   Plaintiff has not produced any evidence indicating that it is likely to succeed on the
                     5
                           underlying merits of its claims that Unforgettable is “engaging in a campaign to deter workers
                     6
                           from cooperating with the Secretary” and the “Secretary is likely to succeed on his claim that
                     7
                           Defendants interfered with his investigation.” ECF No. 4-2 at 8:21-22, 13:23-24.
                     8
                                   To establish a prima facie case of retaliation under the FLSA, Plaintiff must establish that
                     9
                           an individual or group of individuals: (1) engaged in statutorily-protected activity, (2) suffered an
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                           adverse employment action, and (3) a causal connection exists between the two.                        Ray v.
                     11
                           Henderson, 217 F.3d 1234, 1240 (9th Cir. 2000); Lombardi v. Castro, No. 15-55276, 2017 U.S.
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                           App. LEXIS 519, at *2 (9th Cir. Jan. 9, 2017). Assuming, arguendo, that Plaintiff can establish
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                           engagement in a protected activity, Plaintiff has utterly failed to produce any evidence that
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                           employees at Unforgettable suffered an adverse employment action or that a casual connection
                     15
                           exists between the protected activity and any alleged adverse employment action.
                     16
                                                            a. Plaintiff Has Presented No Evidence of Protected Activity
                     17
                                   Claims of retaliation are necessarily individualized, personalized claims because they
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                           require proof of a causal connection between the activity and the adverse action. See, e.g.,
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                           Henderson, 217 F.3d at 1240. Here, there is no evidence that any particular employee engaged in
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                           protected activity, let alone evidence connecting a particular employee who engaged in protected
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                           activity with a specific adverse action. Clearly, if the DOL claims to have documents it received
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                           from workers, some of those workers cooperated with the investigation and engaged in protected
                     23
                           activity. But the fact that the Court can draw such an inference does not establish a prima facie
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                           5
                     27     Plaintiff requests, without qualification or limitation, that “employees shall also have the right to inspect
                           Defendants’ production records and payroll records.” ECF No. 4, p. 2, ¶ 5. This asks the Court to endorse
                     28    a blatant violation of employees’ privacy right which exceeds permissible disclosure under Nevada law.
                           Employees have a right to request their own records pursuant to NRS § 613.075.
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                     1     case that is sufficient to meet a burden of proof and warrant the entry of a broad preliminary

                     2     injunction.

                     3                                   b. Plaintiff Has Presented No Evidence of Adverse Action

                     4            Notably, Plaintiff’s allegations of an adverse action focus solely on the conduct of Mr.

                     5     Summerhays despite its sweeping allegation that the company is “engaging in a campaign to

                     6     deter workers.” (emphasis added). Plaintiff’s evidence of an adverse action is simple:

                     7     “Summerhays has engaged in a number of actions reasonably likely to deter employees from

                     8     engaging in protected activity.” ECF No. 4-2 at 10:26-27. Plaintiff points to the improperly

                     9     signed Declaration of Mr. Davis-Ferra to support this contention.        Id. As discussed above,

                     10    however, even if the Court were to refrain from striking the Declarations of Mr. Davis-Ferra and

                     11    Mr. Cespedes for noncompliance with the Local Rules, the contents thereof are nothing more than

                     12    hearsay, double hearsay, and inference. Each allegation has been rebutted by Defendants herein.

                     13    See Section II above.

                     14           Plaintiff’s suggestion that the requirement that employees enter into an employment

                     15    agreement is an “adverse action” is unsupported by any legal or factual authority. First, Plaintiff

                     16    provides no actual evidence that employees were “made” or “forced” to enter into employment

                     17    agreements. Second, the only legal authority cited by Plaintiff in support of its contention that

                     18    employment agreements are “coercive and obstructive” is misplaced. In Acosta v. Southwest Fuel

                     19    Mgmt., 2018 U.S. Dist. LEXIS 22554 (C.D. Cal. Feb. 2018), the court actually concluded that

                     20    “soliciting and extracting coerced declarations…constitutes an adverse employment action or

                     21    purposes of the FLSA’s anti-retaliation provision. Id. at *14 (emphasis added). An employment

                     22    agreement is not a declaration. It describes the contractual obligations of employer and employee

                     23    rather than sworn statements made under the penalty of perjury. As such, an employment

                     24    agreement is incapable of “causing [employees] to fear that their prior coerced signature or

                     25    statement could subsequently be used against [them to claim perjury]” as Plaintiff argues. ECF

                     26    No. 4-2 at 11:7-11.

                     27           Critically, UCI did not terminate any employees in March of 2020. The company merely

                     28    notified employees of a potential, company-wide reduction in discretionary bonus pay due the

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                     1     worsening financial environment. Under Nevada law, companies may lawfully reduce wages with

                     2     proper notice to its employees. See NRS § 608.100. A group of employees grew angry when the

                     3     potential reduction was announced and walked off the job site.           To the extent that these

                     4     employees were confused and believed their employment was threatened, the Ninth Circuit has

                     5     repeatedly reiterated, “the mere threat of termination does not constitute an adverse employment

                     6     action.” Campbell-Thomson v. Cox Communs., 2010 U.S. Dist. LEXIS 43977, *18-19, (D. Ariz.

                     7     2010) (quoting Hellman v. Weisberg, 360 Fed. Appx. 776, 2009 U.S. App. LEXIS 28282 at*2

                     8     (9th Cir. Dec. 23, 2009)); see also Hardage v. CBS Broad., Inc., 427 F.3d 1177, 1189 (9th Cir.

                     9     2005) (holding that thinly veiled threats were not enough to constitute retaliation under Title

                     10    VII)). Each of the employees who walked off the job on March 18, 2020, remains on the

                     11    company’s payroll and is eligible to be scheduled for work, however not all employees are

                     12    currently scheduled due to the economic downturn. UCI has provided substantial evidence

                     13    regarding the legitimate business purpose for its decisions related to a potential pay reduction and

                     14    scheduling in the current economic environment. Therefore, the Court “should not second guess

                     15    an employer’s exercise of its business judgment in making personnel decisions, as long as they

                     16    are not discriminatory,” EEOC v. Republic Servs., Inc. 640 F. Supp. 2d 1267, 1313, Nos. CV-S-

                     17    04-1352 DAE(LRL); CV-S-04-1479-DAE(LRL) (D. Nev. 2009). Plaintiff’s Applications, which

                     18    seek to unjustifiably interfere with UCI’s legitimate business operations, must be denied.

                     19                                  c. Plaintiff Has Not Demonstrated the Requisite Causal Link

                     20           Plaintiff’s Applications fail to cite the applicable standard for causation in the Ninth

                     21    Circuit. In University of Texas Southwestern Medical Center v. Nassar, 570 U.S. 338, 133 S. Ct.

                     22    2517 (2013), the Court unequivocally held that the causation standard in retaliation claims is more

                     23    rigorous than discrimination claims. Id. at 2530-33. Therefore, to establish the “causal link” –

                     24    the third element of an employee’s prima facie case – the employee must prove “the adverse

                     25    actions would not have been taken ‘but for’ the protected activities.” Knickerbocker v. City of

                     26    Stockton, 81 F.3d 907, 911 (9th Cir. 1996); McBurnie v. Prescott, 511 F. App’x 624, 624 (9th Cir.

                     27    2013) (unpublished) (citing Gross v. FBL Fin. Servs., Inc., 577 U.S. 167 (2009); ); Lombardi v.

                     28    Castro, No. 15-55276, 2017 U.S. App. LEXIS 519, at *2 (9th Cir. Jan. 9, 2017) (citation omitted)

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                     1     (“[t]he third element of a prima facie case requires showing ‘but-for causation, not the lessened

                     2     causation test stated in § 2000e-2(m),’ which applies to discrimination claims”); see Serlin v. The

                     3     Alexander Dawson School, No. 14-15937, 2016 U.S. App. LEXIS 13744, at *2 (9th Cir. July 28,

                     4     2016) (applying the but-for causation standard in assessing whether or not the plaintiff established

                     5     a prima facie case); T.B. v. San Diego Unified Sch. Dist., 806 F.3d 451, 473 (9th Cir. 2015), cert.

                     6     denied sub nom. San Diego Unified Sch. Dist. v. T.B., 136 S. Ct. 1679 (2016), (applying Nassar’s

                     7     “but-for” standard to the plaintiff’s prima facie case and concluding that there were “many

                     8     explanations why the district” may have made the decisions it did and “[r]etaliation was not one

                     9     of them”).

                     10             The only possible adverse action supported by evidence, and admitted to by Defendants, is

                     11    the announcement of a potential reduction in discretionary bonus pay for all UCI employees.

                     12    Plaintiff cannot offer any evidence whatsoever to suggest, much less establish for the purposes of

                     13    obtaining extraordinary relief, that the potential, company-wide pay reduction was motivated

                     14    solely by a retaliatory animus against a nebulous group of employees. UCI has offered legitimate,

                     15    non-discriminatory reasons for its announcement of a potential reduction in pay.                 Further,

                     16    contrary to Plaintiff’s allegation that Mr. Summerhays “first began firing workers,” no employees

                     17    were terminated. Contra ECF No. 4-2 at 13:1-2; [INSERT cite to DECL HERE]. Finally, even if

                     18    an employee suffered an adverse action subsequent to the filing of the instant Complaint, “close

                     19    temporal proximity alone is not enough to meet the heightened but-for-causation standard

                     20    required of retaliation claims.” Lige v. Clark Cty., 2018 U.S. Dist. LEXIS 26479, *13 (D. Nev.

                     21    2018).

                     22             Plaintiff fails to point to any applicable legal authority in this jurisdiction in support of its

                     23    assertion that “[d]district courts have granted TROs and preliminary injunctions to redress

                     24    threats and actions similar to the ones that Mr. Summerhays has made in this case.” ECF No. 4-2

                     25    at 13:6-7 (emphasis added). Plaintiff’s extra-jurisdictional citations all involve cases where TROs

                     26    were granted; none of these cases involve the analysis or award of a preliminary injunction. See

                     27    J&L Metal Polishing, Perez v. Stars Cleaning, Inc., No. 3:15-cv-1127, 2015 WL 11242006 (D.

                     28    Or. June 26, 2014) (case settled after issuance of TRO); Perez v. Alkanan, Inc.., No. CV13-09228,

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                     1     2013 WL 12129857 (C.D. Cal. 2013) (parties stipulated as to preliminary injunction); Harris v.

                     2     Oak Grove Cinemas, Inc., 2013 WL 3456563 (D. Or. May 2, 2013). In contrast, Judge Pro

                     3     denied a preliminary injunction where “Plaintiffs have presented no evidence that [a supervisor

                     4     and coworker]…threatened or intimidated any…Plaintiff or putative class member. Consequently,

                     5     Plaintiffs have not met their burden of establishing injunctive relief is necessary in this matter.”

                     6     Almaraz v. Vision Drywall & Paint, LLC, No. 2:11-cv-01983-PMP-PAL, 2012 U.S. Dist. LEXIS

                     7     51276, *5 (D. Nev. 2012). Because Plaintiff has failed to put forward even a scintilla of evidence

                     8     to establish the existence of any threatening conduct, let alone the requisite causal link, the

                     9     Applications must be dismissed.

                     10                           2. Plaintiff Is Unlikely to Succeed on Its Claim of Interference

                     11           Plaintiff alleges Defendants violated the FLSA’s investigatory provision by terminating

                     12    employees, warning employees about immigration authorities, compelling employees to give

                     13    “false sworn testimony” to investigators, sending “intimidating letters,” “locking employees out”

                     14    of the ADP payroll system, and “securing employee signatures on misleading employee

                     15    contracts.” ECF No. 4-2 at 14:16-21. Plaintiff claims that the “evidence makes clear” that

                     16    Plaintiff will succeed on the merits as to each of these allegations. Id. at 15:3. However, as

                     17    discussed above, the only “evidence” provided by Plaintiff is rife with hearsay, double hearsay,

                     18    and latent inaccuracies. No employees were terminated. Mr. Summerhays never told employees

                     19    that they would be referred to immigration authorities if they spoke to investigators. Plaintiff

                     20    refers to “intimidating letters,” but only provides a single letter from September 2019 which is

                     21    inaccurately translated. Plaintiff’s claim that employees were “locked out” of ADP’s online

                     22    payroll platform is demonstrably false. Finally, Plaintiff provides no evidence of “misleading

                     23    employee contracts.”

                     24           Here, Plaintiff transparently attempts to unfairly gain an advantage in this case by use of

                     25    improper tactics designed to manufacture a non-existent concern. Plaintiff has not established a

                     26    widespread violation of fairness. Rather, Plaintiff has (albeit inaccurately) described the contents

                     27    of a single document sent more than 6 months ago and various hearsay, and double hearsay,

                     28    statements regarding the purported intimidating conduct of Mr. Summerhays. Yet, Plaintiff’s

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                     1     broad-based remedy requested in their Applications reveal their true intent. Instead of working

                     2     with Defendants’ counsel to address the alleged problem and allowing him sufficient time to

                     3     address the various concerns raised (after he informed Plaintiff that no workers had been

                     4     terminated), Plaintiff quickly filed the instant Applications before Defendants had an opportunity

                     5     to fully respond. Plaintiff should not be awarded for such tactics by receiving broad relief which

                     6     inhibits the company’s ability to respond to financial difficulties in the current economy or an

                     7     aware of fees and cots related to this matter. In fact, it is Defendants who has been forced to incur

                     8     costs to respond to Plaintiff’s embellished and distorted allegations. Accordingly, this Court

                     9     should deny Plaintiff’s request for relief in its entirety.

                     10                            3. Plaintiff Has Not Demonstrated Irreparable Harm

                     11            “To constitute irreparable harm, an injury must be certain, great, and actual. Irreparable

                     12    harm cannot be speculative; the injury complained of must be of such imminence that there is a

                     13    ‘clear and present’ need for equitable relief to prevent irreparable harm.” Chem. Weapons

                     14    Working Group, Inc. v. U.S. Dept. of the Army, 963 F. Supp. 1083, 1095 (D. Utah 1997).

                     15    Further, “[s]imple monetary harm does not constitute an immediate threat of irreparable harm.”

                     16    L.A. Mem'l Coliseum Comm'n v. Nat'l Football League, 634 F.2d 1197, 1202 (9th Cir. 1980).

                     17            While Plaintiff broadly alleges irreparable harm, Plaintiff fails to concretely explain how

                     18    all Unforgettable employees will suffer harm or be unable to enforce their rights if injunctive

                     19    relief is not granted. Plaintiff’s allegations regarding monetary harm (backpay and overtime

                     20    owed to employees), if true, are capable of redress in the normal course. Again, Plaintiff has

                     21    failed to produce a shred of evidence to support its baseless allegation that Defendants retaliated

                     22    against and threatened employees. Further, Defendants has already provided the Notice attached

                     23    as Exhibit A to Plaintiff’s Applications to its employees via text and the Slack messaging system.

                     24            As noted above, Plaintiff’s Applications are based entirely upon deficient declarations,

                     25    which in turn are rife with hearsay and double hearsay. There is no evidence of alleged threats or

                     26    harm to any individual employees. Moreover, Defendants have not terminated any employees or

                     27    taken any further action since it announced the potential reduction in pay due to reduced

                     28    profitability projections. Employees who are currently unscheduled due to the lack of work

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                     1     available will be placed on the schedule as soon as work becomes available. Plaintiff’s

                     2     Applications are based purely on conjecture and speculation, which is an insufficient basis for

                     3     obtaining the requested relief. The only party that will suffer harm if this Court grants such

                     4     broad, indiscriminate relief is Defendants, whose exercise of proper business judgment would be

                     5     second guessed by the Court improperly sitting as a “super personnel department.” Chapman v.

                     6     A1 Transp., 221 F.3d 1012, 1030 (11th Cir. 2000). Further, if this Court were to prohibit or

                     7     otherwise hamper Defendant’s ability to manage its labor expenses, either through layoffs or a

                     8     reduction in pay, it would improperly limit Defendants’ ability to respond to the current financial

                     9     crisis. It would also endorse featherbedding by requiring Defendants to compensate employees

                     10    when there is no work available to perform. See, e.g., New Breed Leasing Corp. v. NLRB, 111

                     11    F.3d 1460, 1471-1472 (9th Cir. 1997) (“the Board's pretense of "remedy" has produced an order

                     12    that may make profitable production impossible. By approving this masquerade we

                     13    preserve featherbedding, increase the risks of taking over foundering firms, and frustrate the

                     14    revival of aging plants. Neither American workers nor American consumers will welcome this

                     15    consequence.”) Therefore, this Court should deny Plaintiff’s request for injunctive relief.

                     16                           4. The Balance of Equities Do Not Weigh in Plaintiff’s Favor

                     17           While this Court certainly has the authority and discretion to enter appropriate orders

                     18    governing the conduct of parties, the Court must also weigh the need for any limitations or

                     19    restrictions on Defendants’ business operations in the midst of the severe economic crisis.

                     20           Here, the balance of the equities are not in Plaintiff’s favor due the utter lack of evidence

                     21    reflecting misleading, coercive, retaliatory, or otherwise improper communications by

                     22    Defendants. Further, at this stage in the litigation, there is no basis to limit Defendants’ ability to

                     23    respond to the economic crisis. The court’s analysis of the equities in N. D. v. State Dep't of

                     24    Educ., 600 F.3d 1104, 1113, 2010 U.S. App. LEXIS 6979, *17-18 (9th Cir. 2010) is instructive.

                     25    There, the appellate court noted that the district court did not abuse its discretion when it found

                     26    that it “could not say that the equities particularly tip in favor of the plaintiffs when the defendant

                     27    school district was required to furlough employees. Id. The district court considered the money

                     28    that would not have to be spent keeping the schools open and the layoffs that might need to occur

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                     1     if the State did not implement the furloughs, against the harm to students caused by furloughs. Id.

                     2     The district court concluded that furloughs were "the least bad of all the bad choices you can

                     3     make." Similar, the equities do not weigh in Plaintiff’s favor here such that Defendants should be

                     4     indefinitely prevented from laying off employees or reducing wages when such actions could be

                     5     necessary in order to keep its business open and financially sound.

                     6                           5. An Injunction Does Not Serve the Public Interest

                     7            The scope of the injunction sought by Plaintiff is incredibly broad. Contrary to Plaintiff’s

                     8     assertion that it “seeks only an order to assure that Defendants will comply with the law,” ECF

                     9     No. 4-2 at 16:6-7, the relief requested by Plaintiff is overly broad. It applies to all employees of

                     10    Defendant, without differentiation. It does not differentiate between any of the 4 named corporate

                     11    defendants or any of the 3 named individual defendants. It asks the Court to sit as a “super

                     12    personnel department” to scrutinize Defendants’ legitimate business decisions. See ECF No. 4-2

                     13    at 17:1-4 (“Defendants must be restrained from implementing any termination or pay cut…so that

                     14    the Secretary can bring any concern to this Court’s attention prior to [implementation].”).       It

                     15    seeks to dictate the methods and means through which Defendants assign labor in an increasingly

                     16    slow market. ECF No. 4-2 at 17:4 (requesting that Defendants provide employees less hours

                     17    rather than reduce pay company-wide). It seeks the indiscriminate disclosure of Defendants’

                     18    “production and payroll records” across all Defendant corporate entities to all employees. ECF

                     19    No. 4-2 at 17:19-21. In light of the overbroad nature of the relief requested by Plaintiff, couple

                     20    with the extremely weak evidence Plaintiff produced to support its request, the public interest

                     21    would clearly not be served by the imposition of injunctive relief. The public’s interest is best

                     22    served by allowing parties to fairly engage in fact investigation and proceed to a trial on the

                     23    merits. Plaintiff has failed to identify a legitimate reason why Defendants should be restrained

                     24    from making reasoned decisions to maintain the company’s financial health in the midst of the

                     25    current economic crisis. Accordingly Plaintiff’s requested relief should be denied.

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                     1            IV.    CONCLUSION

                     2            Based upon the foregoing, Defendants respectfully request that this Court deny Plaintiff’s

                     3     Applications for Temporary Restraining Order and Order to Show Cause Re: Preliminary

                     4     Injunction.

                     5            Dated this 17th day of April 2020.

                     6                                                         JACKSON LEWIS P.C.

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                                                                               /s/ Paul T. Trimmer
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